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United States I)lstrict Court, Northern ]Jistrict of Illinois

 

 

 

 

 

 

 

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CASE Jarnes Wataon vs. Chicago Police Cifficer Neberieza
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Reference is made to the plaintist change*of-address notice [#19]. The plaintiff is reminded of the ccurt’s basic
filing requirements: (1) the plaintiff must provide the court with the original plus a judge’s copyr of every
document filed; and (2) every document filed must include a certificate of service showing that a copy was mailed
to opposing counsel. 'I`he clerk is directed to mail the plaintiff another copy of the court's filing instructions along

with a copy of this order. ln the future, the court may strike without considering any document filed that fails to
comport with these basic filing rules.

 

 

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Pago 1 of 1

